        USM-285 is aCase
                    5-part 1:19-cr-10081-IT
                           form. Fill out the formDocument
                                                   and print 5 174
                                                               copies.Filed
                                                                        Sign05/20/19
                                                                             as needed and
                                                                                       Pageroute as 1specified below.
                                                                                              1 of
  U.S. Department of Justice
  United States Marshals Service
                                                                                                PROCESS RECEIPT AND RETURN
                                                                                                See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                                  COURT CASE NUMBER
   United States of America                                                                                                   19-cr-l 008 I-IT
   DEFENDANT                                                                                                                  TYPE OF PROCESS
   Salcedo, Jorge                                                                                                             Seize and Maintain
                           NAME OF INDIVIDUAL, COMPANY, CORPORATION ETC TO SERVE OR DESCRIPTION OF PROPERTY TO S~E OR u, DEMN

       SERVE               Wire Transfer in the amount of $194,820.48 from Jorge Salcedo                                                                 ;             ::r
          AT {             ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)                                                              :S:      co   • :;:;
                                                                                                                                                         ~        O:::Or,i
                                                                                                                                                                  ti> t/) ,-.
                                                                                                                                                                  --c::::, ;
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW
                                                                                                                          Number of process to be
                                                                                                                          served with this Fonn 285

                    ~ol E. Head, Assistant U.S. Attorney
                     U.S. Attorney's Office                                                                               Number of parties to be
                                                                                                                          served in this case
                                                                                                                                                                       :::0
                                                                                                                                                                        <
                                                                                                                                                                               -
                     U.S. Federal Courthouse                                                                                                                 0          ("")
                     I Courthouse Way, Suite 9200
                    ~ston, MA 022 I 0                                                                                     Check for service
                                                                                                                          onU.S.A.

       SPECIAL INSTRUCTIONS OR OTIIER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (.Include Business and Alternate Addresses,
       All Telephone Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                               Fold


        Please hold and maintain the above-referenced asset.

                                                                                                                                 EG x.3411



                                                                                                iKJ PLAINTIFF         TELEPHONE NUMBER                   DATE

                                                                                                0 DEFENDANT            617-748-3100                          5/14/19

        SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total           Total Process   District of      District to       Signature of Authorized USMS Deputy or Clerk                  Date
   number of process indicated.                                  Origin           Serve
   (Sign only for USM 285 if more
   than one~ 285 is submitted)                                   No   Jr
                               0::   .
9iereby 'J;!Pfy and ~ a t I D have personally served , D have legal evidence of service, D have executed as shown in "Remarks", the process described
'"""1 the individual, c corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.



                                                                                                                                D    A person of suitable age and discretion
                                                                                                                                     then residing in defendant's usual place
                                                                                                                                     of abode
                                         ent than shown above)
                                                                                                                                                                               Dam
                                                                                                                                                                               Opm




   Service Fee             Total Mileage Charges Forwarding Fee                Total Charges       Advance Deposits
                           including endeavors)

                                                                                                                                               $0.00
   REMARKS:
                                 -j_ N   (




   l'lff\ I   ~   ( 01'11 S:    I.  CLERK OF THE COURT                                                                                        PRIOR EDITIONS MAY BE USED
                                2.  USMS RECORD
                                3.  NOTICE OF SERVICE
                                4.  BILLING STATEMENT*: To be returned to the U.S Marshal with payment,                                                                 Fonn USM-285
                                    if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                Rev. 12/15/80
                                 5. ACKNOWLEDGMENT OF RECEIPT                                                                                                          Automated 01/00
